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                                             #1126



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
vs.                                             )   CRIMINAL NO. 05-30086-15-GPM
                                                )
GUADALUPE ESTRADA,                              )
                                                )
                      Defendant.                )


      ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF
            GUILT, AND NOTICE OF SENTENCING
MURPHY, Chief District Judge:

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

there has been no timely objection, the plea of guilty of Defendant Guadalupe Estrada to Counts 1

and 7 of the Indictment is hereby accepted, and Defendant is adjudged guilty of such offenses.

       A Presentence Investigation Report is ordered. The Court will defer a decision on the Plea

Agreement pending review of the Presentence Investigation Report.

       Sentencing is hereby scheduled for Monday, July 31, 2006, at 9:00 a.m.

       IT IS SO ORDERED.

       DATED: 05/16/06


                                                    s/ G. Patrick Murphy
                                                    G. PATRICK MURPHY
                                                    Chief United States District Judge
